
dismis.re                                                           



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 02-03-342-CV





MAX-TEL COMMUNICATIONS, INC.	APPELLANT



V.



QWEST COMMUNICATIONS CORPORATION	APPELLEE



----------

FROM THE 271
ST
 
DISTRICT COURT OF WISE COUNTY

----------

MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

----------

We have considered appellant’s “Motion To Dismiss.” &nbsp;It is the court's opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See 
T
EX.
 R. A
PP.
 P. 42.1(a)(1), 43.2(f). &nbsp;

Appellant shall pay all costs of this appeal, for which let execution issue. 



PER CURIAM	



PANEL D:	HOLMAN, GARDNER, and WALKER, JJ.



DELIVERED: June 10, 2004

FOOTNOTES
1:See 
Tex. R. App. P. 47.4.




